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      Defendant does not have the ability to pay bond and will submit a statement of
      inability to afford costs.
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